CaS€ 2204-CV-OQlO7-DAK

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114 THE UNITED STATES DISTRICT COURT IN AND FOR
THE DISTRICT OF UTAH

 

World Wide Association of

 

Specialty Progra_ms and
Schools, :

PlajntiH`,
vs 1

Thomas G. Houl:ahan,
Defendanl.

Defendant’s Memorandum in
Support of Motion to Dismiss for
Lack of Personal Jurisdiction and

Improper Venue

Civil No. 2:04CV00107

Judge Dale A. ijball

 

1 I. Personal Jurisdiction.

A. Burden of Production and Prool'

It is well se1tled that in a diversity action, a federal district court may exercise jurisdiction

over a nonresident 10111y to the extent that a court of the state could properly exercise jurisdiction

Moreover, when cdalienge is made to the propriety of the court’s exercise of jurisdiction, the

burden is on the plz+jntilf to establish that jurisdiction is proper under applicable law.”

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Applewhite v. Metr1p Aviation, Inc., 875 F. 2d 491 (5m Cir. 1989), cited in Moore ’s Fedeml

Practice § 12.31[41. The rule is no different in the Tenth Circuit, Doe v. National Medr'cal

Serv:ces, 974 F.2d1143 (10‘h Cir. 1992).

 

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B. Applicable Leéal Tests

This court detailed the steps of analysis for personal jurisdiction in Utah on a defamation

and tortuous interference claim in Harnischfeger Engineers v. Um'jlo Conveyor, 883 F . Supp 608

(D. Utah 1995) and in Proctor & Gamble Co. v. Haugen, 179 F.R.D. 622 (D. Utah 1998). First,
the plaintiff must show facts meeting the requirements of the Utah Long-Arm Statute. Second, it
must show that thdse facts also satisfy the constitutional requirements of Due Process: Minimum
Contacts, Fundamental Pairness, and adequate Nexus. (Hamishfegger at 612 and following;

Proctor & Gamble1 at 627).
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C. Jurisdictional1Facts as Pled in the First Amended Complaint
Not one spicilic event mentioned in the Cornplaint is alleged to have happened in Utah.
As sworn in Defeniiant’s AHidavit (submitted herewith as Exhibit l) all of them in fact happened

outside Utah. Eacl1i particular communication alleged to have been defamatory Was to a non-
resident of Utah an:i.l occurred in Maryland, North Carolina, Califomia, Alaska, or South
Carolina.

Contact wit1h L.B. (Complaint1111 11-22) was entirely in Maryland, where she lives
(Affidavit11 5). '1`11e call from Defendant to C.M. (Complaint1111 23-28) was from Washington
D.C. to Alaska. Th1e calls and e-mails to C.M. ’s ex-wife, and the calls and e-mails to their
Daughter, were fropi Washington, D.C. to North Carolina, except for one telephone conversation
with the mother and daughter while they were in Califomia. (Coniplaint 1111 29-43; Aflidavit 1111 7
and 8). The contadt with Attomey Burton (Complaint 1111 44-46) was by telephone from

Washington D.C. tci) California (Af.fidavit11 9). Attomey Burton was a non-resident of Utah, as

 

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Plaintifi` well kno\45, having successfully argued that point in the litigation to which the
Complaint refers (111§davit11 10). The alleged contacts with various courts did not occur, but if
they had, they woqld have had no connection to Utah (AHidavit11 11). The contact with the
South Carolina Departrnent of Social Services was solely in that state (Affidavit 11 1 l).

As to alleged tortious acts in Utah, Plaintiff offers only a conclusory assertion of
“staternents concerhing plaintiffs to Utah residents and members of the Utah Bar,” and that only
on “inforrnation and belief" (Complaint11 5). This is insufficient on its face

If jurisdiction i` chailenged, the burden is on the party claiming jurisdiction to show it by
a preponderan e of the evidence ...[That party bears] the burden of alleging the facts
essential to sh w jurisdiction and supporting those facts with competent proof Mere
conclusory alle ations of jurisdiction are not enough US. ex rel. quter v. Spectrum
Emergency Ca e, 190 F_3d 1156, 1160 (10'th Cir. 1999)(Citati0ns and internal quotation
marks omitted z

The only will pled allegation of connection to Utah is that Plaintili’s reputation was
damaged there Th1s is not enough under either the Utah statute or the Due Process Clause.
D. Application and Argument

1. Utah Lohg-Arm Statute

Plaintiff only invokes one of the grounds of jurisdiction listed in the statute: “the causing
of injury within thisstate.” Utah Code Ann. § 78-27-24 (3). The alleged injuries are “damage
to its reputation,” ahd “economic loss and costs associated with correcting the false and
misleading statemedts.” (Complaint 1111 57,62,69) Although special damages are claimed
generally, they are dot specifically stated in accord with Rule 9 (g) and add nothing to the
jurisdictional allegat1ions.

Except that ihe alleged defamation was by mail rather than telephone, this case is

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precisely like Hamr`.ichfeger Engi'neers v. Um'j?o Conveyor, decided by this court in 1995 (883 F.

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Supp. 608). In thht case the letter in question was sent from Kansas to Tennessee, and copies
were sent to Virgi1nia and Illinois. Harnisclyfeger, at 613.

The letter was1 never published in Utah. ... HEI can at best argue that while Uniflo
tortiously inte efered with and defamed HEI in Tennessee, Virginia, and Illinois, Unflo
“caused” a fin cial injury to HEI’s business in Utah Yet this argument has been flatly
rejected by th Utah Courts as a basis for exercising specific personal jurisdiction See,
e.g., Brown, 1` 93 WL 643364, at *7 (“[J]urisdiction [cannot] be predicated solely upon
financial injury occurring to a Utah resident.”) (citing Hydroswg'ft Cor;v. v. Lour‘e ’s Boals
andMotors, 1 c., 494 P.2d 532, 532 (Utah 1972); Cannondale, 750 F.Supp at 1075
(‘[L]oss of pr fits within a state in which a place of business is maintained simply is an
insufficient basis on which to find that the injury occurred within that state. . . .”) Indeed,
acceptance of iuch an argument “would lead to the unacceptable proposition that
jurisdiction co ld be established anywhere a plaintiff might locate.” Burr Drillr`ng, Inc. v.
Prr)tadrr'll, 60 P.2d 244, 250 (Utah 1980) (citations omitted). Accordingly, the court
holds that Uni o cannot be subject to suit in Utah under the “tortuous injury” provision
of the Utah lo g-arm statute in as much as any injury in this case flowing from Uniflo’s
letter to Mr. R go occurred, if at all, in Tennessee, Virginia, and Illinois_not in Utah

Harnischfeger l11_"7ngineer's v. Um`jlo Conveyor, 883 F.Supp 608, 613 (D. Utah 1995)
Plaintiff’ s injury fi'r1)m the alleged communications occurred, if at all, in Maryland, North
Carolina, Californi§a, Alaska, and South Carolina This case has nothing comparable to
Amway’s Amvox dusiness messaging system which provided the statutory nexus in Proctor &
Gamble (179 F.R.li) at 629) nor the defamatory phone calls knowingly made into Utah which
did so in Berret v. iife Ins. Co ofthe Southwest, 623 F.Supp. 946 (D. Utah 1985).

2. Due Prbcess:
a. Minimum Contacts and Nexus
There are n+) specific allegations in the Complaint from which one could infer that
Defendant “purposi;:ly availed” himself “of the privilege of conducting activities in Utah.”
Procter & Gamb!eiat 629. See Hansen v. Denk!a, 357 U.S. 23 5, 78 S.Ct. 1228, 2 L.Ed. 2d 1283
( 195 8). Plaintiff`s indirect injury theory was rejected as unconstitutional in Hyal“oswij? Corp. v.

Lom'e ’s Boats and dlotors, lnc., 494 P.Zd 532 (Utah 1972) and in Piar West Capiral Inc. v.

 

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Tr)wne, 46 F.3d 14171 (10m Cir. 1995). ln this case there are no allegations of connections to
Utah from which 141aintiff’ s cause of action could have “arisen” or been “related to,” so the
nexus requirement1 of Helicopteros Naci'onales de Colombr'a, S.A. v. Hall, 466 U.S. 408, 104 S_
Ct. 1868, 80 L. Ed1 2d 404 (1984) adds nothing to the minimum contacts analysis

h. hair Play and Substantial Justice.

“The fair p1ay and substantial justice requirement ‘essentially asks whether asserting
jurisdiction over a hon~resident defendant would be fair. ”’ Procter & Gamble, 179 F.R.D. at 629,
quoting Harnischfi(>ger.

l (l). Convenience ol` the Parties

While the 111aintiff’s name “World Wide Association of Specialty Programs and
Schools,” may be di slight overstatement, Plaintiff is active and represents institutions in many
states and countriei; outside Utah. Defendant’s investigations and communications have
involved programsiin Montana, New York, South Carolina, Costa Rica, Jamaica, Mexico, and
the Czech Republic:l. (Aflidavit11 15). There is only one Defendant, a natural person, domiciled

in New I-larnpshirejl presently residing in Washington D.C., and amenable to suit in either
jurisdiction As in;i:licated below in regard to Defendant’s compulsory counterclaim, PlaintiH`
has purposely availied itself of the opportunity to communicate directly in the District of
Columbia with Uniled Press Internationtd, accusing Defendant of professional misconduct and
preventing or delaj1ing publication of his articles

(2). Availability of Witnesses on Plaintil't’s Claims

Every specific event described in the Complaint occurred in other states, and at very great

distance from Utah1 Every single person mentioned as hearing or receiving the allegedly

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defamatory comm1inications resides outside Utah, and, except for Attomey Burton, is not subject

to subpoena in this case
1 (3). Other States’ Greater lnterests
The corrimhnications with the South Carolina Department of Social Services of` which

Plaintiff complains raise serious issues of privilege that are of vital interest to that state and
almost certainly gdverned by its law. Defendant denies communications about matters to which
the Complaint refeis with Courts in either Alaska or North Carolina (Aflidavit 11 ll), but
allegations based 01n any such communications would likewise raise serious issues of privilege,
the administration 1)1` justice, jurisdiction, comity, and choice of law.

(4). Availability of Witnesses on Defendant’s Compulsory

Counterclaim

If this case 1is not dismissed, Defendant will be compelled to assert a counterclaim
Plaintiff has purpos1efully made its allegations of professional misconduct to United Press
Intemational in Wz1shington, D.C., delaying or preventing publication of Defendant’s articles,
interfering with his1livelihood, and damaging his professional reputation (Afiidavit, 1111 12 -14)
Plaintiff has made t1re same allegations to others (Affidavit, 11 13) None of the witnesses to
these injurious falsehoods or the resulting damages are amenable to process in Utah, except, of
course, those work1ng there for the Plaintif’r`.

l II. Venue

Plaintitf in\1okes 28 U.S.C. 1391 generally However, as this is a Diversity case and

there is only one de1fendant only the first clause of § 1391 (a)(2) applies It requires that the

action be brought in “a judicial district in which a substantial part of the events or omissions

 

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giving rise to the <11aim occurred." Every specific event alleged in the Complaint occurred in a
District other that 1the District of Utah.

Respectlillly submitted by

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Yomas Houlahan,
Defendant7 Pro se.

Certificate hf Service:

This Mem raduzn, with Exhibit 1 (Afiidavit),

on Piainti s Counsel this ls-}' day of May, 2004
by First Cl ss U.S. Mail, postage prepaid,
Addressed o:

Silvester Conroy, L.C.

230 South 00 East, Suite 590

Salt Lake C1ity, Utah 84102

Themas /:?HPlahan

l certify tl§t I have served

Defendant, ro se.

